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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF OKLAHOMA

 JAMES EZELL, III,

                       Plaintiff,

 vs.                                              Case No. CIV-19-302-JFH-SPS

 JAMES YATES, et al.,

                       Defendants.


                 DEFENDANTS’ RESPONSE AS DIRECTED BY
                     THIS COURT’S ORDER [DOC# 207]


        COME NOW Defendants Ade, Bullock, Gentry, Hininger, Hoover, Keys,

 Patterson, Perez, Pfaff, Pierce, Smith, Underwood, and Yates by and through their

 attorney of record Darrell L. Moore, OBA 6332, of J. Ralph Moore, P.C., hereby

 responding to Plaintiff’s Motion for an extension of time, as directed by this Court’s

 Order dated February 28, 2022. [Doc. No. 207].

        As shown below, these responding Defendants have no ability to effect Plaintiff

 or Plaintiff’s access to a law library. Therefore, as to these answering Defendants,

 Plaintiff’s Motion is moot.

        In support of their Response to Plaintiff’s Motion, Defendants state as follows:

        1.      Plaintiff is an inmate in the custody of the Oklahoma Department of

 Corrections. He was housed by the Oklahoma Department of Corrections at Davis

 Correctional Facility during time periods relevant to his claims brought forward to the

 District Court, but Oklahoma moved Plaintiff from Davis Correctional Facility on May

 20, 2021.




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        2.      In his recent Motion for an extension of time to respond to Defendants’

 Motion for Summary Judgment, Plaintiff asserts he is not receiving law library time.

        3.      A review of the Court’s docket for this matter does not show a change of

 address notification filed by Plaintiff. Oklahoma DOC on-line records indicate Plaintiff

 is currently housed at the Lawton Correctional Facility.

        4.      Since Plaintiff’s departure from Davis Correctional Facility, these

 answering Defendants have directed their mailings to Plaintiff at his current place of

 confinement.

        5.      Lawton Correctional Facility is owned and operated by The Geo Group.

 These answering Defendants, employees and former employees of CoreCivic, Inc., have

 no authority or ability to respond to any requests Plaintiff may be raising regarding his

 confinement at Lawton Correctional Facility.

        WHEREFORE, premises considered, these answering Defendants have responded

 to Plaintiff’s Motion, as directed by the Court. Defendants respectfully request the Court

 determine Plaintiff’s Motion as to these Defendants as moot since Plaintiff was moved

 from Davis Correctional Facility approximately nine (9) months ago.

                                               Respectfully submitted, Defendants
                                               Ade, Bullock, Gentry, Hininger, Hoover,
                                               Keys, Patterson, Perez, Pfaff, Pierce, Smith,
                                               Underwood, and Yates



                                               By:
                                               Darrell L. Moore, OBA #6332
                                               J. Ralph Moore, P.C.
                                               P.O. Box 368
                                               PRYOR, OK 74362
                                               (918) 825-0332/7730 fax
                                               Attorney for Defendants



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                                   Certificate of Service

  I hereby certify that on March 2, 2022, I electronically transmitted the
 attached document to the Clerk of Court using the ECF System for filing. Based on the
 records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
 the following ECF registrants:

 Counsel of Record

  I hereby certify that on March 2, 2022, I served the attached document by regular US
 Mail on the following, who are not registered participants of the ECF System:

 James Ezell, III, DOC# 237370
 Lawton Correctional Facility
 8607 SE Flower Mound Rd.
 Lawton, OK 73501


                                              s/Darrell L. Moore
                                              DARRELL L. MOORE




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